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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA               :
                                       :
      v.                               :       CRIMINAL NO. 23-CR-000035-5 (RC)
                                       :
                                       :
MICAIAH JOSEPH                         :


                DEFENDANT JOSEPH’S MOTION FOR SEVERANCE


      Mr. MICAIAH JOSEPH, through his attorney, Kira Anne West, and

pursuant to Rule14(a) of the Federal Rules of Criminal Procedure, hereby

respectfully moves this Honorable Court for the entry of an Order of severance for

trial. Mr. Joseph requests a separate trial be ordered for him apart from co-

defendants for various reasons. In support of this motion, the following is stated:

      1. Background

      Mr. Joseph entered a not guilty plea before this Honorable Court on

February 21, 2023. He is charged with what is commonly known as the easiest

felony for the government to prove, 18 USC 231, known as “civil disorder.” As

this Court may know, three of the defendants, Adam Villareal (count 2-assault on a

police officer using a dangerous weapon); Casey Tryon-Castro (count 3-assault on

a police officer) and Troy Weeks (count 4-assault on a police officer) have been

charged with very serious felonies. As if that weren’t enough, Ms. Tryon-Castro


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and Mr. Villareal have also been charged with theft of government property

(counts five and six). The likelihood of disastrous spillover and prejudice against

Mr. Joseph is 100 percent, even with a curative instruction from the Court.

None of the joined defendants are charged with conspiring with one

another to commit any offense. None of the joined defendants are

alleged to have come to the Capitol together or to have corresponded

with one another prior to or after January 6, 2021.1 None of the joined

defendants are alleged to identify with a common political or social

group.

         Federal Rule of Criminal Procedure 14(a) allows that "[i]f the joinder of

offenses or defendants in an indictment, an information, or a consolidation for trial

appears to prejudice a defendant or the government, the Court may order separate

trials of counts, sever the defendants' trials, or provide any other relief that justice

requires." Mr. Joseph believes that by going to trial with the other four defendants,

it will irreparably prejudice him in as much as the serious charges against the

others will likely be seen as unseemly, and/or confuse the jury, and/or blur the

issues before the jury thus compromising Mr. Joseph’s right to a fair trial.

Moreover, there is a real danger that the jury will become confused by



1 This representation is made on the limited review of limited discovery in this case.
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the mass trial and fail to consider the evidence against each of the five

defendants independently. While the government may claim that,

notwithstanding these concerns, the cases should be tried together to

promote judicial economy, it is difficult to imagine that a trial involving

a random collection of defendants will not become sidetracked and

delayed with countless evidentiary motions, among other issues. More

importantly, balancing the efficiency imperatives of joinder against the

substantive rights of criminal defendants has been foreclosed by the

Supreme Court in Zafiro v. United States, 506 U.S. 534, 541 (1993). see

also United States v. Erwin, 793 F.2d 656, 666 (5th Cir. 1986)(severance required

because charges against defendant were only peripherally related to those alleged

against the other defendants and as the trial progressed, it became increasingly

apparent that very little of the mountain of evidence was usable against her.”)

      Critically, Mr. Joseph has no idea who these other four defendants are that

are charged with him. He’s never even heard their names before. There are no

facts that will be presented at trial that connect him to any of the other defendants.

When undersigned counsel asked the AUSA why Mr. Joseph was charged with the

other four defendants, the reply was that he was in the same general area as the

other 4 defendants. It seems 100 others could have also been charged in this

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indictment, and undersigned counsel believes if she took the time to cull through

other indictments, there would be similar indictments to this one-all defendants

charged together yet not one knowing another. In most instances, despite their

physical proximity, even the video evidence (what little has been turned over) of

their actions does not overlap. Thus, this Court would have to constantly deal with relevancy

objections by undersigned counsel.

       2. Argument

       I.      The defendants are improperly joined under the controlling
               interpretation of Rule 8(b).

       Rule 8 of the Federal Rules of Criminal Procedure permits joinder of defendants

only if “they are alleged to have participated in the same act or transaction, or in the

same series of acts or transactions constituting an offense or offenses.” Fed. R. Crim. P.

8(b). To properly join two defendants in this District, the government must sufficiently

demonstrate “the existence of a common scheme or plan spanning both transactions

and both defendants.” United States v. Perry, 731 F.2d 985, 991 (D.C. Cir. 1984)

(emphasis added). 2


   A. There is an insufficient nexus to support the joinder of Mr. Joseph with
      four of his co-defendants.




2 If the government thinks cheering is sufficient (and Joseph does not concede to any cheering) to
render two defendants part of the same “common scheme or plan” within the meaning of Rule 8(b)
and Perry, it must concede that these fictional links apply to every J6 defendant charged. “Some
allegation of concerted action between defendants is required.” See Spaeth v. Michigan State Univ.
Coll. of L., 845 F. Supp. 2d 48, 53 (D.D. C. 2012)(“courts have not joined totally independent actors,
without any allegation of concert or conspiracy.”)(citations omitted).
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       Though generally favored, joinder does not “authorize the Government to string

together, for common trial…_when the only nexus among them lies in the fact that one

man participated in all.” Kotteakos v. United States, 328 U.S. 750, 773 (1946)(emphasis

added) Rather, each defendant must be logically relevant to each of their co-defendants.

See id.; see also Perry, 731 F.2d at 990 ([T]here must be a logical relationship between

the acts or transactions within the series.” See also United states v. Jackson, 562 F.2d

789, 796 (D.C. Cir. 1977)(“[i]f acts were part of a common scheme or plan, or connected

together, they could be regarded as a series).”


       Of course, Kotteakos was decided shortly before the Federal Rules of Criminal

Procedure became effective. However, the principle is reflected in contemporary case

law. For example, in a case cited favorably by the District of Columbia Circuit in

Jackson, the Fourth Circuit observed:


There is nothing in the evidence to show that Whitehead and Meredith could have been
joined in the same indictment. Whitehead allegedly dealt with Jackson, and Jackson
with Meredith. The burden is on the government to show that persons to be joined
participated in the same act or transactions, or in the same series of acts or
transactions. Although there was a ‘series’ of transactions involving a common
denominator (Jackson), the government did not meet its burden of proving that there
was any connection between appellant’s offense and Meredith’s offense. Carried to its
logical conclusion, the government’s theory might well allow us to join in a common
indictment and trial two delinquent taxpayers who used the same accountant. Such a
result approaches the ridiculous. Clearly, the joinder of Whitehead and Meredith in the
instant case was improper.”

United States v. Whitehead, 539 F.2d 1023, 1025 (4th Cir. 1976); see also Jackson, 562

F.2d at 796 (citing to Whitehead for the proposition quoted).




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        The joined defendants were unknown to one another until the start of the

instant proceedings. Unlike the other charged January 6 conspiracies, these joined

defendants had no shared plans or agreements regarding their conduct that day,

having traveled from different parts of the country for their own individual reasons.3 While at the

Capitol, they are alleged to have committed separate acts, notwithstanding the grouping of those

disparate acts in certain counts. As the principle articulated in Kotteakos established, Defendant

Stevens’ relevancy to the other seven co-defendants is insufficient as a basis for supporting the

joinder of the entire group. Kotteakos, 328 U.S. at 773. Thus, unless the government demonstrates a

logical nexus between Mr. Joseph and the other four co-defendants, the Court must sever the

proceedings.


        Here, unlike other J6 cases, these joined defendants had no shared plans or

agreements regarding their conduct that day, having traveled from different parts of

the country with their own individual reasons. While at the Capitol on January 6, 2021,

they are alleged to have committed separate acts, notwithstanding the grouping of

those separate acts in certain counts. Because Mr. Joseph’s alleged actions were wholly

separate and distinct from these defendants, the parties are improperly joined. The

government has not alleged any nexus whatsoever in the indictment. Most important is

the fact that Mr. Joseph’s conduct was the exact opposite of the defendants he has been

charged with. We expect the evidence to show that Mr. Joseph’s conduct was to reduce




3 1 “Similar” conduct is plainly insufficient for joinder under Rule 8(b). See Jackson, 562
F.2d at 796 (“When similar but unrelated offenses are jointly charged [even] to a single
defendant, some prejudice almost necessarily results”) (quoting Cupo v. United States,
359 F.2d 990, 993 (D.C. Cir. 1966)).

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the ability of the mob to affect assaults on the officers. Mr. Joseph took repeated action

to resist members of the mob in their attempts to use force and/or weapons against

officers which is clearly an antagonistic defense to the other charged defendants.

         The U.S. Supreme Court has made clear that severance should be ordered

when "there is a serious risk that a joint trial would compromise a specific trial

right of one of the defendants, or prevent the jury from making a reliable judgment

about guilt or innocence." Zafiro v. United States, 506 U.S. 534, 539 (1993).

         There is precedent for this Court to grant severance in a J6 case. In two

recent cases, United States v. Doolin, 21 CR 447 (CJN)4 and United States v.

James Beeks, 21 CR 00028 (APM)5, severance was granted due to the presence of

a pro se defendant. That is not the case here, but the fact that other district court

judges are granting motions for severance is J6 cases is telling.

         WHEREFORE for the foregoing reasons and such other reasons that may

appear just and proper, defendant Joseph, respectfully requests

that his motion for a trial severance be granted and a separate trial be ordered for

him apart from co-defendants.6

                                                      Respectfully submitted,

                                                      KIRA ANNE WEST


4 See minute order entered January 25, 2023.
5 There has not been a minute order entered on the docket but undersigned counsel spoke to defense counsel for
defendant Beeks who informed her that the motion to sever was granted on the record.
6 The government does not oppose a bench trial in this case if all other defendants agree. In the event of a severance,
the possibility of a bench trial is much greater.
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                                     By:               /s/
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                                CERTIFICATE OF SERVICE

       I hereby certify on the 27th day of February, 2023, a copy of same was delivered to the

parties of record pursuant to the Covid standing order and the rules of the Clerk of Court.

                                                         /S/

                                                     Kira Anne West




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